                                                                                  Case 3:08-cv-04433-MMC Document 6 Filed 09/29/08 Page 1 of 2



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                                                                                                          IN THE UNITED STATES DISTRICT COURT
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                                                                          9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
                               For the Northern District of California




                                                                         11   CORNELIUS LOPES,                                    No. C-08-4433 MMC
United States District Court




                                                                         12                 Plaintiff ,                           ORDER DISMISSING PLAINTIFF’S
                                                                                                                                  COMPLAINT WITH LEAVE TO AMEND
                                                                         13     v.
                                                                         14   CITY OF LIVERMORE, et al.,
                                                                         15                 Defendants.
                                                                                                                             /
                                                                         16
                                                                         17          Before the Court are plaintiff’s complaint and application to proceed in forma

                                                                         18   pauperis, both filed September 23, 2008. When a party seeks to proceed in forma

                                                                         19   pauperis, the district court is required to dismiss the case if the court determines the

                                                                         20   complaint fails to state a claim upon which relief can be granted. See 28 U.S.C. §

                                                                         21   1915(e)(2)(B)(ii).

                                                                         22          Here, plaintiff’s complaint fails to allege his constitutional rights were violated

                                                                         23   pursuant to an official policy, practice, or custom of defendants, and, consequently, the

                                                                         24   complaint fails to state a claim. See Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 690

                                                                         25   (1978); Christie v. Iopa, 176 F.3d 1231, 1235 (9th Cir. 1999) (“Congress intended to hold

                                                                         26   municipalities liable only when ‘action pursuant to official municipal policy of some nature

                                                                         27   caused a constitutional tort.’”) (quoting Monell, 436 U.S. at 691).

                                                                         28          Accordingly, plaintiff’s complaint is hereby DISMISSED, with leave to file, no later
         Case 3:08-cv-04433-MMC Document 6 Filed 09/29/08 Page 2 of 2



 1   than October 31, 2008, a First Amended Complaint curing the deficiencies noted. If plaintiff
 2   does not file a First Amended Complaint by the required date, the Court will dismiss the
 3   action.
 4             The Court will defer ruling on plaintiff’s application to proceed in forma pauperis
 5   pending plaintiff’s filing of a First Amended Complaint, if any.
 6             IT IS SO ORDERED.
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 8   Dated: September 29, 2008
                                                             MAXINE M. CHESNEY
 9                                                           United States District Judge
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